Case 1:25-cv-00870-ADA-SH Document9 Filed 06/30/25 Page1of2

Name: Phap Anh Le

Address: 13021 Dessau Rd Lot 75 Austin, TX 78754 FILED

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Email Address: pacer@phaple.com WESTON BGTRICT GF TEXAS

Pro Se — Fe -

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

PHAP ANH LE CASE NUMBER

Phone Number: 737-226-8701

1:25-cv-00870-ADA-SH
PLAINTIFF(S)

MIDLAND CREDIT

APPLICATION FOR PERMISSION
MANAGEMENT, INC.

TO FILE ELECTRONICALLY

DEFENDANT(S)

As the XI Plaintiff [1 Defendant _ in the above-captioned matter, I respectfully ask the Court for
permission to participate in electronic filing ("e-filing") in this case. I hereby affirm that:

1, Ihave reviewed the Administrative Policies and Procedures for Electronic Filing in Civil and Criminal Cases
and the Local Court Rules available on the Court's website at www.txwd.uscourts.gov.

2. I understand that once I register for e-filing, I will receive notices and documents in this instant case
only by e-mail and not by U.S. mail.

3. I understand that if my use of the Court's e-filing system is unsatisfactory, my e-filing privileges may be
revoked and I will be required to file documents in paper, but will continue to receive documents via e-mail.

4, I understand that I may not e-file on behalf of any other person in this case.

5. Ihave regular access to the technical requirements necessary to e-file successfully:
Check all that apply.

A Computer with internet access.

An email account on a daily basis to receive notifications from the Court and notices from the
e-filing system.

A scanner to convert documents that are only in paper format into electronic files.
A printer or copier to create required paper copies such as chambers copies.

A word-processing program to create documents; and

A PDF reader and a PDF writer to convert word processing documents into PDF format, the only
electronic format in which documents can be e-filed.

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Date: June 28 2025 Signature: ( LA AL Lc |

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

PHAP ANH LE, §
Plaintijf §
vy. : Case No. 1:25-ev-00870-ADA-SH
MIDLAND CREDIT :
MANAGEMENT, INC. §
Defendant :
ORDER

Now before the Court is Plaintiff Phap Anh Le’s Motion for Leave to File Electronically asa
Pro Se Litigant, filed June 10, 2025 (Dkt. 3).' The Court cannot determine whether Plaintiff has
regular access to all the technical requirements necessary to e-file successfully because she has not
filed an “Application for Permission lu File Electronically.” which is available on the Court’s

website al www.txwd.uscourts.zoy. To aceess this form, click on the “Filing Without an Attorney”

tab, then “Pro Se Manual,” and then on the “Permission to File Electronically” attachment. The

Court ORDERS Plaintiff to file the completed form with the Court by July 7, 2025.

SUSAN HIGHTOWER
UNITED STATES MAGISTRATE JUDGE

SIGNED on June 20, 2025.

1 The District Court referred this case to this Magistrate Judge pursuant to Rule | of Appendix C of the
Local Rules of the United States District Court for the Western District of Texas and the Magistrate Referral
Standing Order for United States District Alan D Albright. Dkt. 5.
